    Case 24-50512-grs          Doc 7      Filed 04/30/24 Entered 04/30/24 13:45:31                 Desc ORDER
                                         TO FILE/AMEND Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Kentucky
                                             Lexington Division
                            Mailing Address: 100 E Vine Street Ste 200, Lexington, KY 40507−1430

In re Donald Anthony Fitzpatrick
      Ashley Louise Fitzpatrick                               Case No. 24−50512−grs
      1152 Red Lick Road
      Berea, KY 40403                                         Chapter: 11
      1152 Red Lick Road
      Berea, KY 40403
 aka/dba:
 SSN/TID: xxx−xx−4303
          xxx−xx−7552


Debtor(s)

                                          ORDER TO FILE/AMEND
     A Petition having been filed in the above−referenced case on April 29, 2024, and the Court being otherwise
properly and sufficiently advised,

    It is ORDERED that, within 14 days of the filing date of the Petition, pursuant to the United States Bankruptcy
Code, the Federal Rules of Bankruptcy Procedure, and the local Bankruptcy Rules for the Eastern District of
Kentucky, the following document(s) shall be filed with the Court:

     Missing document(s) or a portion thereof:

     Schedules A−J with Declaration About an Individual Debtor(s) Schedules, Summary of Your Assets and
Liabilities and Certain Statistical Information, Statement of Financial Affairs for Individuals Filing for Bankruptcy,
Disclosure of Compensation of Attorney for Debtor


    Failure to comply with this Order may result in the dismissal of this case, or the withholding of the discharge of
Debtor(s) without further notice or hearing. This does not limit any party in interest from seeking contempt sanctions,
dismissal of the case, or any other remedy for failure to comply with this Order.


DATED: April 30, 2024

                                                              By the Court −
                                                              /s/Gregory R. Schaaf
                                                              Gregory R. Schaaf
                                                              U.S. Bankruptcy Judge



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